       Case 1:17-cv-01932-TSC Document 30-11 Filed 11/19/18 Page 1 of 2




                   IN THEUNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
                              CIVIL DIVISION


ANTHONY W. PERRY, Pro se                       :
5907 Croom Station Rd.                         :
Upper Marlboro, MD 20772                        :
(301) 928-2305                                  :
                                                :
                    Plaintiff,                  :
                                                :Civil Action No: 17-cv-1932 (TSC)
             v.                                :
                                                :Notice of Electronic Submission of
WILBUR ROSS, SECRETARY                         : udio Files To Accompany Motion For
                                               A
U.S. DEPARTMENT OF COMMERCE                    :Summary Judgment
1401 Constitution Ave., N.W.                    :
Washington, D.C. 20230,                         :
                                                :
                    et al.                      :
                                                :
                    Defendants.                 :



          Notice Of Submission Of MSPB And D.C. Circuit Court Audio Files

      I respectfully file four MSPB Audio Hearing Files, MSPB Tracking No.:

MSPB-2018-000310, associated with Anthony W. Perry vs. Department of

Commerce, MSPB docket number DC-0752-12-0486-B-1 and the MSPB oral

argument for Anthony W. Perry v. MSPB, D.C. Circuit Court of Appeals Dkt. 14-

1155. Pursuant to the Court's order, all of the summary judgment documents and

these audio files are provided on flash drive. A CD of all audio files is submitted to

accompany the paper submission.



                                                      Respectfully submitted,


                                                      Anthony W. Perry
Case 1:17-cv-01932-TSC Document 30-11 Filed 11/19/18 Page 2 of 2


                  U.S. MERIT SYSTEMS PROTECTION BOARD
                                                          Office of the Clerk of the Board
                                                                                        1615 M Street, NW
                                                                                     Washington, DC 20419
                                             Phone: 202-653-7200; Fax: 202-653-7130;EMail: records@mspb.gov
September 21, 2018

LETTER VIA USPS

Anthony Perry
5907 Croom Station Road
Upper Marlboro, MD 20772

RE:    Request for Audio Hearing Files, MSPB Tracking No.: MSPB-2018-000310

Dear Mr. Perry:

This is i·n response to your request to the U.S. Merit Systems Protection Board (MSPB) for the
audio files of the hearing proceedings associated with Anthony W Perry vs. Department of
Commerce, MSPB docket number DC-0752-12-0486-B- l.

Given your status as an appellant in this appeal before the Board, we are approving your request.
5 C.F.R. § 1201.53. We are sending you a copy of the file you requested in a separeyte mailing.
Please note that the file is password protected with the following password: MSPB-2018-
000310AP. This password will open the file.

Should you have any questions regarding the transfer of the hearing audio files, please email my
office at records@mspb.gov.



                                             Sincerely,

                                             //signed//

                                             Adam Hill
                                             Government Information Specialist
                                             Merit Systems Protection Board

Attachment
